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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


NO LABELS,

                          Plaintiff,
                                                       Case No. ___________
           v.

NOLABELS.COM, INC.,

                          Defendant.


                           DECLARATION OF JERALD S. HOWE, JR.

           I, Jerald S. Howe, Jr., do hereby declare and state the following based on first-hand

knowledge:

           1.      I am a member of the Board and Treasurer for the Board with No Labels (“No

Labels”). I am a volunteer in these capacities.

           2.      I submit this declaration in support of Plaintiff’s Application for Temporary

Restraining Order and/or Motion for Preliminary Injunction.

           3.      I make this declaration based on my knowledge and experience as an officer and

director of No Labels. If called as a witness, I could and would testify competently to the

information detailed in this declaration.

           4.      Plaintiff No Labels (“Plaintiff” or “No Labels”) is a social welfare organization

whose stated mission is to support political centrism and bipartisanship through what it calls the

“commonsense majority.”

           5.      No Labels was founded in or about 2009. The name “No Labels” was chosen to

signify that the organization did not wish to be pigeonholed into a position on any given political

or social issue, as is so often the case with the country’s two dominant political parties.



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           6.      No Labels has spent more than a decade nurturing and developing its unique brand

of centrist politics that eschews the views of the extreme political left and right in favor of the

middle and the common sense.

           7.      No Labels owns a federal trademark registration for NO LABELS, U.S. Trademark

Reg. No. 3,946,066 (the “No Labels Registered Trademark”).              The No Labels Registered

Trademark, which issued on April 12, 2011 in Class 35, covers: “Issue advocacy; Public advocacy

to promote awareness of public policy options and political issues.” A true and accurate copy of

the United States Patent and Trademark Office Registration is attached hereto as Ex. 1.

           8.      The No Labels Trademark Registration (for NO LABELS), has been used in

commerce continuously by No Labels since at least 2010.

           9.      No Labels’ independence, and its ability to exclusively control its brand, its

reputation, and the political leaders with whom it is associated, is paramount to its mission.

           10.     No Labels has been the subject of an enormous amount of media attention in recent

months because the organization may support a “Unity Ticket” for the 2024 election for president

and vice president that would give voters a viable third-party candidate option rather than

effectively being compelled to support the nominees from one of the two parties that dominate

American politics.

           11.     While No Labels has not yet committed to running candidates for president and

vice president in 2024, polling shows that a majority of the electorate wants more choices in the

2024 presidential election.

           12.     No Labels does not currently support any of the candidates running in the 2024

presidential election.




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           13.     No Labels has received an overwhelming amount of unpaid media coverage,

including in publications like the New York Times, The Wall Street Journal, and on popular

politically oriented websites like Politico and The Daily Beast.

           14.     On November 29, 2023, The New York Times guest columnist Thomas B. Edsall

ran an op-ed column entitled, “Has No Labels Become a Stalking Horse for Trump?” A true and

accurate copy of this column is attached hereto as Ex. 2.

           15.     Largely through the work of young volunteers who believe in the mission of No

Labels, the organization has collected over one million signatures on petitions to support ballot

access for president and vice president for a No Labels candidate on numerous states’ 2024 ballots.

           16.     The volunteers collecting signatures proudly wear their t-shirts prominently

featuring the NO LABELS mark as they interact with college students and other members of the

public.

           17.     As of the date of this declaration, No Labels has established ballot operations in 26

different states.

           18.     By the end of 2023, No Labels expects to have achieved ballot access in twelve

states.

           19.     No Labels registered the domain nolabels.org (the “No Labels Domain”) on

December 15, 2009, and has hosted its official website (the “No Labels Website”) at that URL

since that time.

           20.     To promote its message and to increase its base of support, No Labels relies heavily

on the No Labels Website.

           21.     The landing page of the No Labels Website trumpets, “WELCOME TO THE

HOME FOR THE COMMONSENSE MAJORITY.”                            It further states, “We are a national



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movement of commonsense Americans pushing our leaders together to solve our country’s biggest

problems.” Visitors are invited to click on a button to “Download the Common Sense Policy

Booklet – a clear blueprint, guided by the shared values and aspirations of Americans across the

nation.” The No Labels Website landing page also offers visitors the opportunity to “[w]atch a

replay of our first Common Sense Town Hall….”




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           22.     No Labels actively promotes its organization through various media, including on

YouTube, where No Labels has its own channel. The No Labels YouTube channel can be accessed

through this link: https://www.youtube.com/channel/UCdFZ5b8bpOLRgbOATyPRtdw.

           23.     The No Labels YouTube channel contains thousands of videos, including clips

from interviews with politicians discussing No Labels and the 2024 presidential election.




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           24.         In 2010, to coincide with the organization’s launch, No Labels posted a video called

“Join the Movement: No Labels.” The video is available on the No Labels YouTube channel and

can be accessed via this link: https://www.youtube.com/watch?v=2KAaDQpvMtI.

           25.         No Labels has published a series of books and booklets over the years. These

publications, available on the No Labels Website, include the following:

                      Common Sense Policy Booklet

                      Beyond Redistricting and Campaign Finance

                      The Ultimate Guide to the 2020 Election

                      The Speaker Project

                      No Labels Policy Playbook

                      Make America Work!

                      Make Government Work!

                      Make the Presidency Work!

                      Make Congress Work!

           26.         No Labels has also sponsored a number of policy and grass roots events over the

years.

           27.         For example, No Labels hosted an event in July 2023 called “No Labels Common

Sense Town Hall With Sen. Joe Manchin and Gov. Jon Huntsman.” The event was recorded, and

the video is posted on No Labels’ YouTube channel, accessible via the following link:

https://www.youtube.com/watch?app=desktop&v=GBnyUZLPoxw.

           28.         No Labels has been hosting political events since its inception.

           29.         In 2011, it put on an event called “Highlights from No Labels’ Town Hall with

Howard Schultz – No Labels.” The event was recorded, and the video is available on the No


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Labels         YouTube     channel    and   can    be    accessed    via    the   following    link:

https://www.youtube.com/watch?v=RbluNoURg0k.

           30.     No Labels takes pride in what it has accomplished over its history. Some of those

accomplishments are highlighted in a presentation No Labels circulates to supporters and members

of the public who express interest in the organization.         A true and accurate copy of that

presentation, which has been widely circulated by No Labels, is attached hereto as Ex. 3.

           31.     No Labels has never authorized another person or entity to create a politically

oriented website using its NO LABELS trademark.

           32.     No Labels was surprised when it recently learned that someone had purchased the

domain nolabels.com (the “Infringing Domain”) and was using that Infringing Domain to host a

website which, like the No Labels Website, promotes political ideas and public policy (the

“Infringing Website”). The surprise turned to frustration and anger when it became clear that the

Infringing Website is designed to falsely evoke an association with the No Labels Website –

coopting not only the No Labels Registered Trademark but also key phrases associated with No

Labels like “Commonsense Majority.”

           33.     The Infringing Website promotes politicians who have no affiliation with No

Labels (notably including former President Donald Trump) and with whom No Labels has no

desire to be affiliated.




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           34.     According to WHOIS.com, a publicly available database of domain name

registrations, the Infringing Domain was registered on October 16, 2023. A true and accurate

screenshot of the WHOIS.com record for the Infringing Domain appears below:




           35.     As the above WHOIS.com record indicates, the registrant of the Infringing Domain

is listed as Domains by Proxy, LLC, an entity formed for the purpose of concealing the identity of

domain registrants. In fact, Domains By Proxy’s trademarked tagline is “Your identity is nobody’s

business but ours.®”




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           36.     After performing a diligent investigation, No Labels discovered the existence of a

recently formed Delaware corporation named NoLabels.com Inc. (“Defendant”).




           37.     Further investigation confirmed that an entity called NoLabels.com Inc. was

actively promoting the Infringing Website through a sponsored Google Ads campaign. Google

Ads campaigns are designed to improve a website’s ranking in response to Google searches.




           38.     Through its Infringing Website, Defendant is pirating No Labels’ brand, its

goodwill, and its reputation.

           39.     People interested in learning more about the real No Labels organization who type

“no labels” into Google or another search engine can find themselves presented with the Infringing

Website, where they will be confronted with content not associated with or approved by No Labels,


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including images of politicians whom No Labels does not support and with whom No Labels

desires no association.

           40.     In fact, No Labels recently learned that this is exactly what happened to a woman

named Dr. Pat Love. Dr. Love, who lives in Texas and holds a doctorate in education, set out to

learn more about No Labels by researching the organization on the Internet. A Google search

brought her to what she believed was No Labels’ official website but, in fact, was the Infringing

Website. She was surprised and confused to see images of politicians like Donald Trump on what

she believed was the official No Labels website.

           41.     Defendant’s use of its Infringing Website has harmed, and will continue to harm,

the goodwill associated with the No Labels Registered Trademark.

           42.     The Defendant’s mark (NOLABELS.COM) is identical to the No Labels

Registered Trademark (NO LABELS).

           43.     In my experience, people doing research on the Internet do not always exhibit great

care in that process. This is reinforced by Dr. Love’s experience, described above.

           44.     The Infringing Website is not a “gripe site” designed to criticize or disagree with

No Labels or its positions. It is a site designed to mislead people into believing it is operated by

or endorsed by No Labels.

           45.     The parties’ respective websites are accessed through publicly available search

engines like Google, Bing, Yahoo!, etc. Defendant has already sponsored a Google Ads campaign

to boost public awareness of its Infringing Website, and both parties’ websites compete for search

rankings on Google and other search engines.

           46.     The “consumers” of the politically focused websites at issue are potential voters.




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